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                                                                         2                      IN THE UNITED STATES DISTRICT COURT
                                                                         3                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         4
                                                                               IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                         5     ANTITRUST LITIGATION                     )
                                                                                                                        )   Case No. C-07-5944-SC
                                                                         6                                              )
                                                                                                                        )   ORDER ADOPTING SPECIAL
                                                                         7     This Order Relates To:                   )   MASTER'S REPORT AND
                                                                                                                        )   RECOMMENDATION REGARDING
                                                                         8         APPLICATION FOR JUDICIAL             )   SUBPOENA
                                                                                   ASSISTANCE FOR THE ISSUANCE OF       )
                                                                         9         SUBPOENA PURSUANT TO 28 U.S.C.       )
                                                                                   § 1782 TO OBTAIN DISCOVERY FOR       )
                                                                         10        USE IN A FOREIGN PROCEEDING          )
United States District Court
                               For the Northern District of California




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                                                                         16   I.    INTRODUCTION
                                                                         17         On October 22, 2012, the Special Master in the above-captioned
                                                                         18   matter (the "MDL") issued his Report and Recommendation regarding a
                                                                         19   subpoena by Sharp Corporation ("Sharp").        ECF No. 1415 ("R&R").
                                                                         20   Underlying the R&R are Defendants' Motion to Quash, ECF No. 1327
                                                                         21   ("Mot. to Quash") and Sharp's Motion to Compel, ECF No. 1340 ("Mot.
                                                                         22   to Compel").   The MDL defendants relevant to the instant matter
                                                                         23   ("Defendants"), too numerous to list here, appear at Mot. to Quash
                                                                         24   1 n.1.   Now before the Court is the joint motion of Defendants and
                                                                         25   non-party Saveri & Saveri, Inc. ("Saveri") to adopt the R&R.          The
                                                                         26   matter is fully briefed and appropriate for resolution without oral
                                                                         27   argument.   ECF No. 1426 ("Mot. to Adopt R&R"); ECF No. 1430 ("Obj.
                                                                         28   to R&R").   For the reasons explained below, the Court ADOPTS the
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                                                                         1    R&R, GRANTS Defendants' Motion to Quash, and DENIES Sharp's Motion
                                                                         2    to Compel.1
                                                                         3    II.     BACKGROUND
                                                                         4            Petitioner Sharp Corporation ("Sharp") is a manufacturer of
                                                                         5    electronics products, currently pursuing an antitrust case similar
                                                                         6    to the MDL in South Korea (the "Korean Litigation").             R&R at 2.
                                                                         7    Defendants are a group of electronics producers, all of whom are
                                                                         8    defendants in the MDL and some of whom are also defendants in the
                                                                         9    Korean Litigation.        Id.    at 3.   Non-party Saveri is class counsel
                                                                         10   for the Direct Purchaser Plaintiffs ("DPP(s)"), a group of
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                                                                         11   plaintiffs involved in the MDL.          Id. at 2.
                                                                         12           The Korean Litigation concerns an alleged antitrust conspiracy
                                                                         13   that involves only Korean cathode ray tube manufacturers and
                                                                         14   suppliers, and only sales taking place outside the United States.
                                                                         15   Sharp has not yet pursued discovery in Korean courts for the Korean
                                                                         16   Litigation.        R&R at 2-4.    Instead it first requested a subpoena
                                                                         17   from this Court to obtain documents from Saveri under 28 U.S.C. §
                                                                         18   1782, which permits district courts to order production of
                                                                         19   documents or other materials to foreign tribunals.             Id. at 2.
                                                                         20   Sharp's subpoena demands that Saveri produce all discovery related
                                                                         21   to the DPP action of the MDL, because Sharp believes information
                                                                         22   relevant to the Korean Litigation could be found in those
                                                                                             2
                                                                         23   materials.         Id.   Defendants and Saveri both objected to the
                                                                         24   1
                                                                                Because the Court decides this motion without considering Sharp's
                                                                         25   request for extra briefing, Sharp's motion for leave to file a
                                                                              reply to Saveri's opposition to Sharp's objection, ECF No. 1456, is
                                                                         26   DENIED AS MOOT.
                                                                              2
                                                                         27     Sharp has since narrowed the scope of the subpoena to include
                                                                              only documents produced by MDL Defendants in the United States, and
                                                                         28   to exclude documents produced by plaintiffs or third parties. Mot.
                                                                              to Compel at 2-3. Saveri maintains that that production of these


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                                                                         1    subpoena, Defendants moved to quash it, Sharp moved to compel
                                                                         2    compliance, and the Special Master heard their arguments on
                                                                         3    September 20, 2012.     Id. at 1-2.    The Special Master recommended
                                                                         4    that Defendants' motion to quash be granted and that Sharp's motion
                                                                         5    to compel be denied, because he deemed § 1782 assistance
                                                                         6    unwarranted.    Id. at 1-6.     Saveri and Defendants now ask the Court
                                                                         7    to adopt the R&R.     Mot. to Adopt R&R at 1.      Sharp objects, arguing
                                                                         8    that the Special Master made critical legal and factual errors and
                                                                         9    therefore abused his discretion.       Obj. to R&R at 1.
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                                                                         11   III. LEGAL STANDARDS
                                                                         12              A.    Standard of Review for the R&R
                                                                         13         The Court reviews the Special Master's factual findings for
                                                                         14   clear error, his legal conclusions de novo, and his procedural
                                                                         15   decisions for abuse of discretion.        Fed. R. Civ. P. 53(f)(3)-(4);
                                                                         16   ECF No. 302 ("Order Appointing Special Master") ¶ 18 (parties
                                                                         17   stipulated to "clear error" standard for factual findings).
                                                                         18              B.    Section 1782
                                                                         19         Title 28, Section 1782(a) of the United States Code states in
                                                                         20   relevant part that "[a] district court of the district in which a
                                                                         21   person resides or is found may order him to give his testimony or
                                                                         22   statement or to produce a document or other thing for use in a
                                                                         23   proceeding in a foreign or international tribunal."          The Court's
                                                                         24   decision to grant or deny this assistance is discretionary.          Intel
                                                                         25   Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 257 (2004).
                                                                         26   ///
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                                                                              documents would be burdensome and time-consuming for its small
                                                                         28   staff. ECF No. 1353 ("Opp. to Mot. to Compel").



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                                                                         1            The Supreme Court provided four factors to aid district courts
                                                                         2    in deciding whether to grant § 1782 applications: (1) whether the
                                                                         3    person from whom discovery is sought is a participant in the
                                                                         4    foreign proceeding; (2) the nature of the foreign tribunal, the
                                                                         5    character of the foreign proceedings, and the receptivity of the
                                                                         6    foreign government to receiving United States federal-court
                                                                         7    judicial assistance; (3) whether the § 1782 request conceals an
                                                                         8    attempt to circumvent foreign proof-gathering restrictions or other
                                                                         9    policies of that country or the United States; and (4) whether the
                                                                         10   requests are unduly intrusive or burdensome.            Id. at 264-65.
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                                                                         11           The Supreme Court also settled an earlier division among lower
                                                                         12   courts, holding that § 1782 includes no "foreign-discoverability
                                                                         13   rule," meaning that the statute does not bar district courts from
                                                                         14   ordering production of documents simply because they would be
                                                                         15   unobtainable if located in the foreign jurisdiction.             Id. at 259-
                                                                         16   63.
                                                                         17
                                                                         18   IV.     DISCUSSION
                                                                         19           The parties do not dispute that Sharp is statutorily permitted
                                                                         20   to seek discovery assistance under § 1782.            Their dispute concerns
                                                                         21   whether Sharp adequately showed, under the Intel factors, that its
                                                                         22   request is warranted.        Sharp argues that the Special Master's
                                                                         23   recommendations under the four Intel factors are based on factual
                                                                         24   and legal errors, thereby vitiating his discretion.3
                                                                         25   3
                                                                                Sharp also makes a very general claim that the Special Master's
                                                                              taking note of Sharp's decisions to bring a case in Korea and to
                                                                         26   opt out of the DPP class of the MDL is evidence of a pervasive
                                                                              factual error in the R&R that affects each Intel factor. Sharp
                                                                         27   goes no further with that point in its argument sections, leaving
                                                                              this allegation vague. See Objection to R&R at 2. In any event,
                                                                         28   the Court finds no reversible error on this point.


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                                                                         1               A.     The First Intel Factor
                                                                         2         The first Intel factor states that "when the person from whom
                                                                         3    discovery is sought is a participant in the foreign proceeding
                                                                         4    . . . the need for § 1782(a) aid is generally not as apparent as it
                                                                         5    ordinarily is when evidence is sought from a nonparticipant in the
                                                                         6    matter arising abroad."     542 U.S. at 264.      The Supreme Court's
                                                                         7    concern here was that evidence from nonparticipants might be
                                                                         8    unobtainable in the foreign jurisdiction absent § 1782 aid.         Id.
                                                                         9         Sharp argues that the Special Master erred in finding that the
                                                                         10   first factor weighed against § 1782 assistance, because Saveri is
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                                                                         11   not a party to either litigation.         Obj. to R&R at 9.   The Special
                                                                         12   Master found that, despite Saveri's non-party status, it is obvious
                                                                         13   that Sharp actually seeks information about Defendants, some of
                                                                         14   whom are subject to Korean discovery rules as parties to the Korean
                                                                         15   Litigation.     R&R at 4.   The Special Master further found that Sharp
                                                                         16   has discovery options available to it in Korea, despite its
                                                                         17   protestations that it does not, the critical point being that Sharp
                                                                         18   has not availed itself of them.       R&R at 4.    None of these
                                                                         19   conclusions is mistaken or otherwise in error.         The Court finds
                                                                         20   that the Special Master made no reversible errors under the first
                                                                         21   Intel factor.
                                                                         22              B.     The Second Intel Factor
                                                                         23        The second Intel factor states that a district court "may take
                                                                         24   into account the nature of the foreign tribunal, the character of
                                                                         25   the proceedings underway abroad, and the receptivity of the foreign
                                                                         26   government or the court or agency abroad to U.S. federal-court
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                                                                         1    judicial assistance."        542 U.S. at 264.
                                                                         2            First, Sharp argues that the Special Master improperly imposed
                                                                         3    a foreign-discoverability rule when considering this factor.
                                                                         4    Objection to R&R at 10-11.         The Court finds that the Special Master
                                                                         5    did not do so.       The Supreme Court described such a rule in Intel as
                                                                         6    being an interpretation of § 1782 that would bar ordering
                                                                         7    production of documents on the basis of their not being obtainable
                                                                         8    in discovery in the foreign jurisdiction.            See 542 U.S. at 259-261.
                                                                         9    However, factors like comity among nations and parity among parties
                                                                         10   can be touchstones in this analysis.           See id. at 263-65.      The
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                                                                         11   Special Master did not reject Sharp's discovery request because he
                                                                         12   thought it would be barred in Korea.           He rejected it because he
                                                                         13   found that Sharp had not shown that its request was warranted, and
                                                                         14   other relevant factors like comity and parity also weighed against
                                                                         15   it.     See R&R at 4.     This conclusion was not in error.
                                                                         16           Second, Sharp argues that the Special Master incorrectly
                                                                         17   assigned Sharp the burden of proof to demonstrate the Korean
                                                                         18   court's receptivity to United States discovery materials.               Obj. to
                                                                         19   R&R at 11.      Sharp cites a series of cases that it claims "[make]
                                                                         20   clear that the burden is on the party opposing the § 1782 discovery
                                                                         21   to demonstrate a lack of receptivity in the foreign court."              Id.4
                                                                         22   That claim is not so clear.         None of the cases Sharp cites are
                                                                         23   binding on this Court.        Further, none of these cases precisely
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                                                                              4
                                                                         25     Specifically, Sharp cites Euromepa S.A. v. R. Esmerian, Inc., 51
                                                                              F.3d 1095, 1102 (2d Cir. 1995); In re Application of Apple, Inc.,
                                                                         26   No. MISC 12-80013, 2012 WL 1570043, *2 (N.D. Cal. May 2, 2012); In
                                                                              re Gushlak, No. 11-MC-218, 2011 WL 3651268, at *3 (E.D.N.Y. Aug.
                                                                         27   17, 2011); In re Republic of Ecuador, No. C-10-80225, 2011 WL
                                                                              736868, *7 (N.D. Cal. Feb. 22, 2011); and Cryolife v. Tenaxis
                                                                         28   Medical, Inc., No. C-08-5124, 2009 WL 88348, *3 (N.D. Cal. Jan. 13,
                                                                              2009).


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                                                                         1    states which party bears the burden on receptivity.          In any event,
                                                                         2    the Special Master's legal conclusions on who bears the burden to
                                                                         3    show receptivity were not central to his decision.          Having weighed
                                                                         4    each party's arguments and the facts before him, the Special Master
                                                                         5    simply concluded that the Korean court's receptivity did not
                                                                         6    warrant § 1782 assistance.       The Court finds that the Special Master
                                                                         7    made no reversible errors under the second Intel factor.
                                                                         8                 C.     The Third Intel Factor
                                                                         9         The third Intel factor states that "a district court could
                                                                         10   consider whether the § 1782(a) request conceals an attempt to
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                                                                         11   circumvent foreign proof-gathering restrictions or other policies
                                                                         12   of a foreign country or the United States."         542 U.S. at 265.
                                                                         13   Courts need not determine that an applicant has exhausted its
                                                                         14   discovery attempts abroad.       See Euromepa S.A. v. R. Esmerian, Inc.,
                                                                         15   51 F.3d 1095, 1098 (2d Cir. 1995).        However, a perception that an
                                                                         16   applicant has "side-stepped" less-than-favorable discovery rules by
                                                                         17   resorting immediately to § 1782 can be a factor in a court's
                                                                         18   analysis.     See, e.g., In re Application of Caratube Int'l Oil Co.,
                                                                         19   LLP, 730 F. Supp. 2d 101, 107-8 (D.D.C. 2010).
                                                                         20        Sharp again argues that the Special Master applied a foreign-
                                                                         21   discoverability rule here.       Obj. to R&R at 13.    For the reasons
                                                                         22   discussed above, the Court disagrees.         See supra, Section IV.B.
                                                                         23   The Court also finds the Seventh Circuit decision cited by Sharp
                                                                         24   inapposite.       Id. at 13-14 (citing Heraeus Kulzer, GmbH v. Biomet,
                                                                         25   Inc., 633 F.3d 591 (7th Cir. 2011)).         Unlike this case, the Seventh
                                                                         26   Circuit decision involved a foreign law specifically barring
                                                                         27   discovery of a particular type of document.         See Heraeus, 633 F.3d
                                                                         28   at 597-98.     Here, the Special Master found that Sharp had side-



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                                                                         1    stepped less-than-favorable discovery rules by resorting
                                                                         2    immediately to § 1782, see Caratube, 730 F. Supp. 2d at 107-8, when
                                                                         3    Korean discovery was available.       R&R at 4-5.    The Special Master
                                                                         4    made no reversible errors under the third Intel factor.
                                                                         5                D.    The Fourth Intel Factor
                                                                         6         The fourth Intel factor encourages district courts to consider
                                                                         7    the burdensomeness of § 1782 requests, stating that "unduly
                                                                         8    intrusive or burdensome requests may be rejected or trimmed."          542
                                                                         9    U.S. at 265.     Sharp argues that the Special Master made three
                                                                         10   errors here.     Obj. to R&R at 15-17.
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                                                                         11        First, Sharp claims that the Special Master erred in
                                                                         12   questioning whether case law supported the breadth of Sharp's
                                                                         13   request and speculating about the history and scope of § 1782.          Id.
                                                                         14   at 15-16.    The Court finds that the Special Master appropriately
                                                                         15   evaluated the facts per the Intel's guidance that district courts
                                                                         16   should consider the burdens and intrusiveness of foreign discovery
                                                                         17   requests.    Intel, 542 U.S. at 265.      His reasoning was not in error.
                                                                         18        Second, Sharp claims that the Special Master's decision to
                                                                         19   reject Sharp's discovery request instead of simply trimming it was
                                                                         20   in error.    Obj. to R&R at 17.    But Intel says only that unduly
                                                                         21   intrusive or burdensome requests "may be" rejected or trimmed.          542
                                                                         22   U.S. at 265.     They do not have to be.
                                                                         23        Third, Sharp claims the Special Master erred in concluding
                                                                         24   that the burden on Saveri to gather and compile the electronic
                                                                         25   discovery record would be unacceptable.        Obj. to R&R at 16-17.    The
                                                                         26   Special Master found that the burden on Saveri's small team plus
                                                                         27   the collateral burdens and intrusions on defendants in the Korean
                                                                         28   Litigation weighed against Sharp on this factor, regardless of the



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                                                                         1    facts that the record was maintained on an electronic server and
                                                                         2    Sharp was willing to assist with production.         R&R at 5-6.    This is
                                                                         3    an appropriate conclusion.      Therefore the Special Master made no
                                                                         4    reversible errors under the fourth Intel factor.
                                                                         5               E.    Additional Factors
                                                                         6          Sharp also claims that the Special Master erred in considering
                                                                         7    policy considerations "outside the scope of the statute or the
                                                                         8    Intel factors," like whether Sharp was forum-shopping or whether
                                                                         9    the decision to grant a subpoena might encourage other litigants
                                                                         10   foreign actions to take aim at class counsel instead of pursuing
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                                                                         11   discovery abroad.    See Objection to R&R at 18-20.        To the extent
                                                                         12   that any of these factors were considered separately, the Intel
                                                                         13   factors are neither exclusive nor mandatory.         They are guidelines,
                                                                         14   and the Special Master did not err in considering additional
                                                                         15   factors he thought appropriate.
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                                                                         1    V.     CONCLUSION
                                                                         2           The Special Master made no factual or legal errors in
                                                                         3    considering the Intel factors.      Accordingly, the Court does not
                                                                         4    find that the Special Master abused his discretion in issuing the
                                                                         5    R&R.   Thus, the Court GRANTS Defendants' and Saveri & Saveri,
                                                                         6    Inc.'s Motion to Adopt the Special Master's Report and
                                                                         7    Recommendation, APPROVES AND ADOPTS the Special Master's Report and
                                                                         8    Recommendation, GRANTS Defendants' Motion to Quash, DENIES Sharp
                                                                         9    Corporation's Motion to Compel, and DENIES Sharp Corporation's
                                                                         10   Motion for Leave to Reply as MOOT.
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                                                                         12          IT IS SO ORDERED.
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                                                                         14          Dated:   January 17
                                                                                                      __, 2013
                                                                                                                   UNITED STATES DISTRICT JUDGE
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